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                               UNITED STATES DISTRICT COURT

                                      DISTRICT OF NEVADA

                                                 * * *


UNITED STATES OF AMERICA,                                    Case No. 2:22-cr-00030-7-RFB-DJA

                      Plaintiff,                                 MINUTES OF THE COURT

         v.                                                      DATED: November 14, 2024

YOANY VAILLANT,

                    Defendant.


THE HONORABLE RICHARD F. BOULWARE, II. UNITED STATES DISTRICT JUDGE

DEPUTY CLERK Darci Smith                        THE COURT REPORTER Patricia Ganci

COUNSEL FOR PLAINTIFF              Matthew Lamberti, Michael Christan, and Jessica Oliva joined
by Special Agent Clay Chase

COUNSEL FOR DEFENDANT Christopher Oram and Charles Goodwin joined by Lisa Smith,
paralegal and Brian Glynn (IT).


MINUTES OF PROCEEDINGS: JURY TRIAL – Day 8

8:38 a.m. Court convenes outside the presence of the Jury. Juror 32 returns individually to Court for
brief voir dire by the Court. Remaining Jury members return to court for Instruction. Jurors then
released to continue deliberations.

8:48 a.m. Court in recess.

       2:20 p.m. Jury Note (Court Exhibit #4) Received and counsel instructed to return to the Court

2:33 Court convenes outside the presence of the Jury. The Court advises counsel of the Jury Note
indicating a Verdict had been reached. The jury enters the courtroom. The jury confirms they have
reached a unanimous verdict. The Court reads the verdict:

        Yoany Vaillant is found Guilty of Count 1, Conspiracy to Commit Copyright Infringement

Jury polled, all members answer in the affirmative, that a Guilty verdict is and was their true verdict.
Jurors are thanked for their service and excused.



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Jury Trial

IT IS ORDERED this matter is referred to the United States Probation Office for presentence
investigation and report. The Defendant shall return for sentencing on February 4, 2025 at 2:00 p.m.

2:43 p.m. Court adjourned.




                                                        DEBRA K. KEMPI, CLERK
                                                        U.S. DISTRICT COURT

                                                        BY: Darci Smith
                                                        Darci Smith, Deputy Clerk




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